             Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 1 of 44


                                                              ELECTRONICALLY FILED
                                                                   2022 Sep 21 PM 3:54
Huqo Hernandez                                         CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2021-CV-000008
vs.                                                                  PII COMPLIANT
Tesfay A Gebrewand, et al. et. al.
                                                       SUMMONS



To the above-named Defendant/Respon dent:


                                     Amazon Logistics Inc
                                     Corporation Service Company
                                     2900 Wanamaker Dr., Suite 204
                                     Topeka, KS 66614


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                     Melinda Young
                                     1 E 30th Avenue
                                     PO Box 1405
                                     Hutchinson, KS 67504-1405


within 21 days after service of summons on you.




                        y


Clerk of the District Court
Electronically signed on 09/21/2022 03:56:05 PM


Documents to be served with the Summons:
PLE: Amended Petition First Amended Petition




                                                   EXHIBIT A
                 Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 2 of 44

1   9/8/2022 9:07:24 AM PST (GMT-8) FROM: 2037052309-TO: 16206352155     Page: 1 of 6




                                                                                         FILED THIS                DAY OF
                                                                                        _ e-r~ecc~c~c , 20 Q ~
                                                                                        —,
               MELINDA YOUNG LAW, LLC                                                    TIME W. ~~
               1 East 30s' Avenue                                                       ~~~
               PO Box 1405                                                                  CLERK OF DISTRICT COU:'T
               Hutchinson, KS 67504-1405                                                       CLARl. CO., I;AJc.'EAS
               (620) 500-5500
               Fax (620) 500-5501

                                IN THE DISTRICT COURT OF CLARK COUNTY, KANSAS
                                            (Pursuant to Y.—S.A. Chapter 60)

               HUGO HERNANDEZ,                                   )
                        Plaintiff,                               )
                                                                 )
               vs.                                               )           Case No. 2021-CV-000008
                                                                 )
               AMAZON.COM, INC.,                                 )
               AMAZON.COM, LLC,                                  )
               AMAZON.COM SERVICES, INC.,                        )
               AMAZON.COM SERVICES LLC,                          )
               AMAZON LOGISTICS,INC.,                            )
               MARROSSO EXPRESS, LLC, and                        )
               TESFAY GEBREWAHD,                                 )
                         Defendants.                             )
                                                                 )
                                                  FIR,ST AMENDED PETITION

                        COMES NOW the Plaintig and for his causes of action against the above-named

               Defendants, and in support thereot states and alleges:

                     1. Plaintiff Hugo Hemandez is an individual and resident of the State of Kansas.

                     2. Defendant Amazon.com, Inc. is a Delaware corporation doi'ng business in the state of

                        Kansas and may be served with service of process by serving its registered agent

                        Corporation Service Company, 251 Little Falls Drive, Wilnungton, DE 19808.

                     3. Defendant Amazon.com, LLC is a Delaware limited liability company doing business in

                        the state of Kansas and may be served with service of process by serving its registered

                        agent Corporation Service Company, 251 Little Falls Drive, Wilmington, DE 19808.




                                                          EXHIBIT A
             Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 3 of 44

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               4. Defendant Amazon.com Services, Inc. is a Delaware corporation registered to do

                    business in the state of Kansas any may be served with service of process by serving its

                    registered agent Corporation Service Company, 2900 SW Wanamaker Drive, Suite 204,

                    Topeka, KS 66614.

               5. Defendant Amazon.com Services LLC is.a Delaware limited liability companyregistered

                    to do business in the state of Kansas and may be served with service of process by

                    servi.ng its registered agent Corporation Service Company, 2900 SW Wanamaker Drive,

                    Suite 204, Topeka, KS 66614.

               6. Defendant Amazon Logistics, Inc. is a Delaware corporation registered to do business in

                    the state of Kansas and may be served with service of process by serving its registered

                    agent Corporation Service Company, 2900 SW Wanamaker Drive, Suite 204, Topeka,

                    KS 66614.

               7. Defendant Marrosso Express, LLC is a Texas limited liability company doing business in

                    the state of Kansas and may be served with process by serving its registered agent Mussie

                    H. Tecleryessuse at 15211 Preston Road, Apt. 1019, in Dallas, Texas 75248.

               8. Defendant Tesfay Gebrewand is an individual and resident of the State of Florida and

                    may be served with prooess at 7642 Old Kings Road, Jacksonville, Florida 32217.

               9. This court has subject matbar jurisdiction over the cause of action, and personal

                    jurisdiction over the parties.

               10.Venue is proper in this county.

                11.The acts of fhe Defendants set forth herein happened within the State of Kansas.

               12.At all times material hereto; Defendants Ama.zon.com, Inc., Amazon.com, LLC,
                                                     ^

                    Amazon.com Services, Inc., Amazon.com Services LLC, and Amazon Logistics, Inc.



                                                                   2'


                                                         EXHIBIT A
             Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 4 of 44

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                    (hereinafter collectively referred to as "Amazon") contracted with motor carriers for the

                    transportation of Amazon freight.

               13.At all times material hereto, Defendant Marrosso EXpress, LLC was a federal motor

                    carrier and was contracted by Amazon to transport Amazon freight.

               14.At all times material hereto, Defendant Tesfay Gebrewand was a track driver in the

                    course and scope of his employment with Defendant Marrosso Express, LLC.

               15.At all times material hereto, Defendant Gebrewand was transporting a load from Thorton,

                    Colorado to Oldahoma City, Oklahoma for Defendants Amazon and Marrosso Express.

               16.At all times material hereto, Defendant Marrosso Express, LLC owned the tractor-trailer

                    Defendant Gebrewand was operating.

               17.At all times material hereto, Defendant Gebrewand was driving in excess of the safe -

                    hours of service.

               18'. At all times material hereto, Defendant Gebrewand falsified his driving log.

               19.On September 8, 2020 at approximately 8:35 a.m., Defendant Gebrewand was traveling

                    southbound on U-283 in Minneola, Kansas.

               20.Defendant Gebrewand negligently, recklessly, willfully, and with wanton disregard for

                    the safety of others, ran the stop sign for southbound traffic on U-283 at the intersection

                   with U-54.

               21, Defendant Gebrewand drove through the stop sign and crashed into a tractor-trailer

                   lawfully traveling westbound on U-54 through the inbersection.

               22.The impact caused the tractor-trailer Defendant. Gebrewand hit to jack knife on U-54.

               23. PlaintiffHugo Hemandez was the driver of the tractor-trailer that was crashed into by

                   Defendant Gebrewand.



                                                                    [c]


                                                      EXHIBIT A
                 Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 5 of 44

A   9/8/2.022 9:07:24 AM PST (GMT8) FROM:'2037052309-TO: 16206352155       Page: 4 of 6




                   24. PlaintiffHugo Hemandez sustained significant personal injuries as a result of the crash.

                   25. Defendant Gebrewand was negligent in the operation of a motor vehicle and causing a

                        collision.

                   26. Defendant Gebrewand's conduct; in violation of statutory law, was negligence per se.

                   27. Defendants Amazon and Marrosso Express, LLC were negligent grosslynegligent,

                       willful, wanton, and reckless in the following and other respects:

                        A. Violation of the Federal Motor Carrier Safety Regulations in one or more the

                            following, or other, respects:

                            1) Operating in excess of safe hours-of service

                            2) Failing to keep proper records;

                            3) Failing to maintain equipment;

                            4) Failing to conduct a pre-trip inspection;

                            5) Failing to repair equipment•,

                            6) Operating faulty equipment,

                            7) Driving without proper qualifications;

                            8) Operating in excess of weight limitations;

                        B. Negligent hiring and supervision.

                        C. Negligent entrustment.

                   28. Defendants Amazon and Marrosso Express, LLC are vicariously liable for the negligent

                       willful, wanton, reckless and unlawful actions of Defendant Gebrewand under the

                        doctrine of respoizdeat superior.




                                                                       4


                                                          EXHIBIT A
                 Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 6 of 44

,   9/8/2022 9:07:24 AM PST (GMT-8) FROM: 2037052309-TO: 16206352155      Page: 5 of 6




                   29.Defendants Amazon are vicariously liable for the negligent, willful, wanton, reckless and

                       unlawfal actions of Defendant Marrosso Express, LLC under the doctrine of respondeat

                       superfor.

                   30.The negligence of Defendants was the proximate cause of the crash and resulting injuries

                       and damages to the Plaintiff.

                   31.As a direct and proximate result of Defendants' negligence, Plaintiffhas suffered, and

                       will continue to suffer in the fature, hospital, medical, and incidental expenses, lost

                       wages, lost time, pennanent injuries and disability, pain, suffering, and loss of enjoyment

                       of life.

                   32.At all times material hereto, Plaintiff Hugo Hemandez was in the course and scope of his

                       employment with Friessen Trucldng and brings this claim for the benefit of his employer

                       or its workers' compensation insurer as their interests appear.

                       WHEREFORE, Plaintiff prays for judgment against the Defendants in an amount in

                   excess of $75,000.00, for costs of this action, and for such other and further relief as the

                   Courrt deems just and equitable. -


                                                                       /s/.Melinda G. Youns
                                                                       Melinda G. Young, SC # 24309
                                                                       MELINDA YOUNG LAW, LLC
                                                                       1 Ea.st 30t' Avenue
                                                                       PO Box 1405
                                                                       Hutchinson, KS 67504-1405
                                                                       (620) 500-5500
                                                                       FaX (620) 500-5501
                                                                       melindaftelindayounglaw.com
                                                                       Attorney for Plaintiff




                                                          EXHIBIT A
                  Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 7 of 44

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                                                    REQUEST FOR JURY TRIAL

                         COMES NOW the Plaintiff, pursuant to applicable Kansas law, and respectfully makes

                 demand for trial by a jury of twelve persons of a11 issues herein joined.

                                                                         /s/ Melinda G. Youne
                                                                         Melinda G. Young, SC # 24309
                                                                         MELTNDA YOUNG LAW, LLC
                                                                         1 Ea.st 30t" Avenue
                                                                         PO Box 1405
                                                                         Hutchinson, K,S 67504-1405
                                                                         (620) 500-5500
                                                                         Fax (620) 500-5501
                                                                         melinda(u?geli.ndayounglaw.com
                                                                         Attorney for Plaintiff




                                                            EXHIBIT A
                    Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 8 of 44
10/11/22, 8:56 AM                                                               Details




             Case Information

             2021-CV-000008 I Hugo Hernandez vs. Tesfay A Gebrewand, et al.

             Case Number                              Court                               Judicial Officer
             2021-CV-000008                           Clark County                        Stein, Andrew
             File Date                                Case Type.                          Case Status
             09/07/2021                               CV Automobile Tort                  Pending




             Party

                                                                                          Active Attorneysv
             Hernandez, Hugo                                                              Lead Attorney
                                                                                          Young, Melinda Gail
                                                                                          Retained




             ❑efendant
             Gebrewand, Tesfay A

             ❑OB
             )0=C/1982




             Defendant
             Marrosso Express LLC




             ❑efendant
             Amazon.com Inc




                                                            EXHIBIT A
https://prodportal.kscourts.org/ProdPortal/Home/WorkspaceMode?p=0#0therEvents                                   1/7
                    Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 9 of 44
10/11/22, 8:56 Am                                                              Details
             ❑efendant
             Amazon.com LLC




             ❑efendant
             Amazon.com Services LLC




             ❑efendant
             Amazon.com Services Inc




             ❑efendant
             Amazon Logistics Inc




             Events and Hearings


                09/07/2021 PLE: Petition


                    Comment
                    Petition PLE: Petition


                04/12/2022 ORD: Order (Generic)


                    Comment
                    Notice of Case Inaction ORD: Order (Generic)


                04/25/2022 MOT: Motion (Generic) v


                    Comment
                    Motion to Continue Action MOT: Motion (Generic)


                08/15/2022 PLE: Summons v


                    Comment
                    Summons: Issued on 08/15/2022; to Tesfay A Gebrewand on 08/15/2022.


                                                            EXHIBIT A
https://prodportaLkscourts.org/ProdPortal/Home/WorkspaceMode?p=0#0therEvents              2/7
                    Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 10 of 44
10/11/22, 8:56 AM                                                               Details

                08/15/2022 PLE: Summons


                     Comment
                     Summons: Issued on 08/15/2022; to Marrosso Express LLC on 08/15/2022.


                08/24/2022 PLE: Summons - Alias


                     Comment
                     Alias Summons PLE: Summons - Alias


                08/26/2022 RET: Return of Service


                     Comment
                     Summons returned/served RET: Return of Service


                09/06/2022 PLE: Response - Answer


                     Comment
                     Answer-Tesfay Gberewand


                09/07/2022 RET: Return of Service


                     Comment
                     Return of service/served RET: Return of Service


                09/08/2022 PLE: Amended Petition


                     Comment
                     First Amended Petition


                09/21/2022 PLE: Summons


                Amazon.com, LLC

                     Comment
                     Amazon.com, LLC


                09/21/2022 PLE: Summons


                Amazon.com, Inc.

                     Comment
                     Amazon.com, Inc.


                09/21/2022 PLE: Summons


                Amazon.com Services

                     Comment
                     Amazon.com Services


                09/21/2022 PLE: Summons

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https://prodportal.kscourts.org/ProdPortal/Home/WorkspaceMode?p=0#0therEvents                3/7
                    Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 11 of 44
10/11/22, 8:56 AM                                                              Details
                Amazon.com Services LLC

                     Comment
                     Amazon.com Services LLC


                09/21/2022 PLE: Summons


                Amazon Logistics, Inc.

                     Comment
                     Amazon Logistics, Inc.


                09/21/2022 Summons


                Requested By
                Hernandez, Hugo


                09/27/2022

                Anticipated Server
                Attorney

                Anticipated Method
                Certified Mail


                09/21/2022 Summonsv


                Requested By
                Hernandez, Hugo

                Served
                09/27/2022

                Anticipated Server
                Attorney

                Anticipated Method
                Certified Mail


                09/21/2022 Summons


                Requested By
                Hernandez, Hugo

                Served
                09/27/2022

                Anticipated Server
                Attorney

                Anticipated Method
                Certified Mail


                09/21/2022 Summons


                Requested By
                Hernandez, Hugo

                                                            EXHIBIT A
https://prodportaLkscourts.org/ProdPortal/Home/WorkspaceMode?p=0#0therEvents               4/7
                    Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 12 of 44
10/11/22, 8:56 AM                                                              Details
                Served
                09/27/2022

                Anticipated Server
                Attorney

                Anticipated Method
                Certified Mail


                09/21/2022 Summons


                Requested By
                Hernandez, Hugo

                Served
                09/27/2022

                Anticipated Server
                Attorney

                Anticipated 1.1ethod
                Certified Mail


                10/03/2022 RET: Return of Service - Summons v


                Amazon Logistics/served

                     Comment
                     Amazon Logistics/served


                10/03/2022 RET: Return of Service - Summons


                Amazon.com Services LLC/served

                     Comment
                     Amazon.com Services LLC/served


                10/03/2022 RET: Return of Service - Summons


                Amazon.com Services Inc./served

                     Comment
                     Amazon.com Services Inc./served


                10/03/2022 RET: Return of Service - Summons


                Amazon.com LLC/served

                     Comment
                     Amazon.com LLC/served


                10/03/2022 RET: Return of Service - Summons


                Amazon.com Inc/served

                     Comment
                     Amazon.com Inc/served

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                    Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 13 of 44
10/11/22, 8:56 AM                                                               Details


                10/05/2022 PLE: Summons - Alias


                Marosso Express, LLC

                     Comment
                     Marosso Express, LLC


                10/05/2022 PLE: Summons - Alias


                Gebrewand

                     Comment
                     Gebrewand


                10/05/2022 Alias Summons w


                Requested By
                Hernandez, Hugo

                Unserved

                Anticipated Server
                Attorney

                Anticipated Method
                Certified Mail


                10/05/2022 Alias Summons


                Requested By
                Hernandez, Hugo

                Unserved

                Anticipated Server
                Attorney

                Anticipated Method
                Certified Mail




             Financial

             Hemandez, Hugo
                  Total Financial Assessment                                              $195.00
                  Total Payments and Credits                                              $195.00


                                                            EXHIBIT A
https://prodportal.kscourts.org/ProdPortal/Home/WorkspaceMode?p=0#0therEvents                       6/7
                    Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 14 of 44
10111/22, 8:56 AM                                                              Details

              9/7/2021       Transaction Assessment                                                             $195.00

              9/7/2021       Case Payment                     Receipt # 12865            Young, Melinda Gail   ($195.00)




             Documents


                Amazon.com, LLC
                Amazon.com, Inc.

                Amazon.com Services
                Amazon.com Services LLC

                Amazon Logistics, Inc.

                Amazon Logistics/served

                Amazon.com Services LLC/served

                Amazon.com Services Inc./served
                Amazon.com LLC/served

                Amazon.com Inc/served
                Marosso Express, LLC

                Gebrewand




                                                            EXHIBIT A
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              Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 15 of 44
                                                              ELECTRONICALLY FILED
                                                                   2022 Sep 21 PM 3:54
Hugo Hernandez                                         CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2021-CV-000008
vs.                                                                  PII COMPLIANT
Tesfay A Gebrewahd, et al. et. al.
                                                       SUMMONS



To the above-named Defendant/Respondent:


                                     Amazon.com LLC
                                     Corporation Service Company
                                     251 Little Falls Dr
                                     Wilmington, DE 19808


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                     Melinda Young
                                     1 E 30th Avenue
                                     PO Box 1405
                                     Hutchinson, KS 67504-1405


within 30 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/21/2022 03:56:05 PM


Documents to be served with the Summons:
PLE: Amended Petition First Amended Petition




                                                   EXHIBIT A
              Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 16 of 44
                                                              ELECTRONICALLY FILED
                                                                   2022 Sep 21 PM 3:54
Hugo Hernandez                                         CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2021-CV-000008
vs.                                                                  PII COMPLIANT
Tesfay A Gebrewahd, et al. et. al.
                                                       SUMMONS



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                                     Corporation Service Company
                                     251 Little Falls Dr
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              Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 17 of 44
                                                              ELECTRONICALLY FILED
                                                                   2022 Sep 21 PM 3:54
Hugo Hernandez                                         CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2021-CV-000008
vs.                                                                  PII COMPLIANT
Tesfay A Gebrewahd, et al. et. al.
                                                       SUMMONS



To the above-named Defendant/Respondent:


                                     Amazon.com Services Inc
                                     Corporation Service Company
                                     2900 SW Wanamaker Dr, Suite 204
                                     Topeka, KS 66614


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Documents to be served with the Summons:
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                                                   EXHIBIT A
              Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 18 of 44
                                                              ELECTRONICALLY FILED
                                                                   2022 Sep 21 PM 3:54
Hugo Hernandez                                         CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2021-CV-000008
vs.                                                                  PII COMPLIANT
Tesfay A Gebrewahd, et al. et. al.
                                                       SUMMONS



To the above-named Defendant/Respondent:


                                     Amazon.com Services LLC
                                     Corporation Service Company
                                     2900 SW Wanamker Dr, Suite 204
                                     Topeka, KS 66614


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                                     Hutchinson, KS 67504-1405


within 21 days after service of summons on you.




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PLE: Amended Petition First Amended Petition




                                                   EXHIBIT A
              Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 19 of 44
                                                              ELECTRONICALLY FILED
                                                                   2022 Sep 21 PM 3:54
Hugo Hernandez                                         CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2021-CV-000008
vs.                                                                  PII COMPLIANT
Tesfay A Gebrewahd, et al. et. al.
                                                       SUMMONS



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                                     Amazon Logistics Inc
                                     Corporation Service Company
                                     2900 Wanamaker Dr., Suite 204
                                     Topeka, KS 66614


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answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


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                                     1 E 30th Avenue
                                     PO Box 1405
                                     Hutchinson, KS 67504-1405


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/21/2022 03:56:05 PM


Documents to be served with the Summons:
PLE: Amended Petition First Amended Petition




                                                   EXHIBIT A
      Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 20 of 44
                                                  ELECTRONICALLY FILED
                                                      2022 Oct 03 AM 9:49
                                          CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                 CASE NUMBER: 2021-CV-000008
                                                        PII COMPLIANT
MELINDA YOUNG LAW, LLC
1 East 30th Avenue
PO Box 1405
Hutchinson, KS 67504-1405
Office: (620) 500-5500
Fax: (620) 500-5501

              IN THE DISTRICT COURT OF CLARK COUNTY, KANSAS
                          (Pursuant to K.S.A. Chapter 60)

HUGO HERNANDEZ,                     )
         Plaintiff,                 )
                                    )
vs.                                 )                       Case No. 2021-CV-000008
                                    )
AMAZON.COM, INC.,                   )
AMAZON.COM, LLC,                    )
AMAZON.COM SERVICES, INC.,          )
AMAZON.COM SERVICES LLC,            )
AMAZON LOGISTICS, INC.,             )
MARROSSO EXPRESS, LLC, and          )
TESFAY GEBREWAHD,                   )
            Defendants.             )
____________________________________)

                                   RETURN OF SERVICE

I hereby certify that I served a copy of this summons and a copy of the petition on _Amazon

Logistics Inc, c/o Corporation Service Company in the following manner:

___     (1)   Personal Service - on the _____ day of _______________, 2021, by delivering or
              offering to deliver the documents to the above-named person;
___     (2)   Residence Service - on the _____         day of _______, _____, by leaving the
              documents at the dwelling or usual place of abode of the above-named person, with
              some person of suitable age and discretion who resides there;
___     (3)   Residence Service - on the ___ day of ________________ , 2021, by leaving a
              copy of the documents at the dwelling or usual place of abode of the above-named
              person and mailing to that person by first-class mail a notice that the copy has been
              left at the individual’s dwelling or place of abode;




                                       EXHIBIT A
      Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 21 of 44




  X     (4)   Return Receipt Delivery - by causing to be delivered on the       26th     day of
              September, 2022, the documents by return receipt delivery to the above-named
              person at the following address: 2900 Wanamaker Dr., Suite 204, Topeka,
              Kansas 66614. A copy of the return receipt evidencing delivery is attached to this
              Return of Service.
____    (5)   Return Receipt Delivery Refused - by mailing on the ____ day of ___________,
              2021, the documents by first-class, postage prepaid, to the above-named person at
              the following address: ________________________________________.
____ (6)      Other Method of Service -     (Describe other method of service allowed by law).
____ (7)      No Service. The above-named person was not served for the following reason(s):
              _________________________________________________________________



                                                   Respectfully submitted,


                                                   /s/Melinda G. Young_________
                                                   Melinda G. Young, SC # 24309
                                                   MELINDA YOUNG LAW, LLC
                                                   1 East 30th Avenue
                                                   PO Box 1405
                                                   Hutchinson, KS 67504-1405
                                                   Office: (620) 500-5500
                                                   Fax: (620) 500-5501
                                                   melinda@melindayounglaw.com
                                                   Attorney for Plaintiff




                                              2
                                      EXHIBIT A
                              Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 22 of 44


                       "r-rgup-v
     f                                                  ,,
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                                                                                                nu
         SENDER: COMPLETE THIS SECTION                                                           COMPLETE THIS SECTION ON DELIVERY
          l   Complete items 1, 2, and 3.                                                       A- Signature
         I Print your name and address on the reversﬁi€
                                                                                                                  ﬂW
                                                                                                                                                         El Agent
           so that we'can return the card to you.                                                                                                        El Addressee
         I Attach this card to the back of the mailpiece.                                              eceived 5y Print                               Date of Delivery
            or on the front if space permits.
         1. Article Addressed to:
                                                                                                       5   5         r;      WNam?"
                                                                                                D. ls delivery address different from item 1?           D    Yes
                                                             7 "                      ' I
                                                                       a,"        ~
                                                                                                   If YES, enter delivery address below:
                                                                                                                                                        El   No
                  Amazon Legistics Inc '
                            '_    .                                ;    .15


                  Corporation Servme Comggny
                  2900 Wanamaker Dr., Suite 204
                  Topeka, KS 66614
                                                    '
                                                                          '   7




                                                                                           a. Service Type                                 D  Priority Mail Express®
                                                                                           El   Adult Signature
     -\                                                                                    El   Adult Signature Restricted Delivery
                                                                                                                                           El Registered MailTM
 a:                                                                                        El   Certiﬁed Mail®
                                                                                                                                           El Registered Mail Restricted

 73:            9590 9402 6604 1028 8515 44                                                El   Certif ed Mail Restricted DeI ivery           ignature c onf irmat ion m
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         2. Article Number (Transfer fmm sen/ice Inhnll                                ii:i     Collect an haliuary Restricted
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3"
         PS Form 3811, July 2020 PSN 7530-02-000-9053                                                                                  Domestic Return Receipt             ,




                                                                                                               EXHIBIT A
      Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 23 of 44
                                                  ELECTRONICALLY FILED
                                                      2022 Oct 03 AM 9:49
                                          CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                 CASE NUMBER: 2021-CV-000008
                                                        PII COMPLIANT
MELINDA YOUNG LAW, LLC
1 East 30th Avenue
PO Box 1405
Hutchinson, KS 67504-1405
Office: (620) 500-5500
Fax: (620) 500-5501

              IN THE DISTRICT COURT OF CLARK COUNTY, KANSAS
                          (Pursuant to K.S.A. Chapter 60)

HUGO HERNANDEZ,                     )
         Plaintiff,                 )
                                    )
vs.                                 )                       Case No. 2021-CV-000008
                                    )
AMAZON.COM, INC.,                   )
AMAZON.COM, LLC,                    )
AMAZON.COM SERVICES, INC.,          )
AMAZON.COM SERVICES LLC,            )
AMAZON LOGISTICS, INC.,             )
MARROSSO EXPRESS, LLC, and          )
TESFAY GEBREWAHD,                   )
            Defendants.             )
____________________________________)

                                   RETURN OF SERVICE

I hereby certify that I served a copy of this summons and a copy of the petition on _Amazon.com

Services LLC, c/o Corporation Service Company in the following manner:

___     (1)   Personal Service - on the _____ day of _______________, 2021, by delivering or
              offering to deliver the documents to the above-named person;
___     (2)   Residence Service - on the _____         day of _______, _____, by leaving the
              documents at the dwelling or usual place of abode of the above-named person, with
              some person of suitable age and discretion who resides there;
___     (3)   Residence Service - on the ___ day of ________________ , 2021, by leaving a
              copy of the documents at the dwelling or usual place of abode of the above-named
              person and mailing to that person by first-class mail a notice that the copy has been
              left at the individual’s dwelling or place of abode;




                                       EXHIBIT A
      Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 24 of 44




  X     (4)   Return Receipt Delivery - by causing to be delivered on the       26th     day of
              September, 2022, the documents by return receipt delivery to the above-named
              person at the following address: 2900 Wanamaker Dr., Suite 204, Topeka,
              Kansas 66614. A copy of the return receipt evidencing delivery is attached to this
              Return of Service.
____    (5)   Return Receipt Delivery Refused - by mailing on the ____ day of ___________,
              2021, the documents by first-class, postage prepaid, to the above-named person at
              the following address: ________________________________________.
____ (6)      Other Method of Service -     (Describe other method of service allowed by law).
____ (7)      No Service. The above-named person was not served for the following reason(s):
              _________________________________________________________________



                                                   Respectfully submitted,


                                                   /s/Melinda G. Young_________
                                                   Melinda G. Young, SC # 24309
                                                   MELINDA YOUNG LAW, LLC
                                                   1 East 30th Avenue
                                                   PO Box 1405
                                                   Hutchinson, KS 67504-1405
                                                   Office: (620) 500-5500
                                                   Fax: (620) 500-5501
                                                   melinda@melindayounglaw.com
                                                   Attorney for Plaintiff




                                              2
                                      EXHIBIT A
                   Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 25 of 44




                                                                              COMPLETE THIS SECTION ON DELIVERY
 I Complete items 1, 2, and 3.
 I Print your name and address on the reverse                                                                                     El Agent
   so that we can return the card to                                                                                              El Addressee
 I Attach this card to the back of theyou.
     or on the front if space permits.
 1. Article Addressed to:
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                                                                       H D. ls delivery address different from item 1?
                                                                                                                           0 Date of Delivery

                                                                                                                                  D   Yes
                                                                            if YES, enter delivery address below:
                                                                                                                                  E] No
             Amazon.com Services LLC
             Corporatiori Service Conz'pexzy
             2900       SW Wanamker Dr, Edge: 204
n            Topeka, KS 66614                                  ,




                                                                       3. Service Type                               El Priority Mail Express®
                                                                       El Adult Signature
3:                      ,
                                                                       III
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PS Form 3811, July 2020 PSN 7530-02-000-9053
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                                                                                                                 Domestic Return Ré'ceipﬂ




                                                                                   EXHIBIT A
      Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 26 of 44
                                                  ELECTRONICALLY FILED
                                                      2022 Oct 03 AM 9:49
                                          CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                 CASE NUMBER: 2021-CV-000008
                                                        PII COMPLIANT
MELINDA YOUNG LAW, LLC
1 East 30th Avenue
PO Box 1405
Hutchinson, KS 67504-1405
Office: (620) 500-5500
Fax: (620) 500-5501

              IN THE DISTRICT COURT OF CLARK COUNTY, KANSAS
                          (Pursuant to K.S.A. Chapter 60)

HUGO HERNANDEZ,                     )
         Plaintiff,                 )
                                    )
vs.                                 )                       Case No. 2021-CV-000008
                                    )
AMAZON.COM, INC.,                   )
AMAZON.COM, LLC,                    )
AMAZON.COM SERVICES, INC.,          )
AMAZON.COM SERVICES LLC,            )
AMAZON LOGISTICS, INC.,             )
MARROSSO EXPRESS, LLC, and          )
TESFAY GEBREWAHD,                   )
            Defendants.             )
____________________________________)

                                   RETURN OF SERVICE

I hereby certify that I served a copy of this summons and a copy of the petition on _Amazon.com

Services Inc, c/o Corporation Service Company in the following manner:

___     (1)   Personal Service - on the _____ day of _______________, 2021, by delivering or
              offering to deliver the documents to the above-named person;
___     (2)   Residence Service - on the _____         day of _______, _____, by leaving the
              documents at the dwelling or usual place of abode of the above-named person, with
              some person of suitable age and discretion who resides there;
___     (3)   Residence Service - on the ___ day of ________________ , 2021, by leaving a
              copy of the documents at the dwelling or usual place of abode of the above-named
              person and mailing to that person by first-class mail a notice that the copy has been
              left at the individual’s dwelling or place of abode;




                                       EXHIBIT A
      Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 27 of 44




  X     (4)   Return Receipt Delivery - by causing to be delivered on the       26th     day of
              September, 2022, the documents by return receipt delivery to the above-named
              person at the following address: 2900 Wanamaker Dr., Suite 204, Topeka,
              Kansas 66614. A copy of the return receipt evidencing delivery is attached to this
              Return of Service.
____    (5)   Return Receipt Delivery Refused - by mailing on the ____ day of ___________,
              2021, the documents by first-class, postage prepaid, to the above-named person at
              the following address: ________________________________________.
____ (6)      Other Method of Service -     (Describe other method of service allowed by law).
____ (7)      No Service. The above-named person was not served for the following reason(s):
              _________________________________________________________________



                                                   Respectfully submitted,


                                                   /s/Melinda G. Young_________
                                                   Melinda G. Young, SC # 24309
                                                   MELINDA YOUNG LAW, LLC
                                                   1 East 30th Avenue
                                                   PO Box 1405
                                                   Hutchinson, KS 67504-1405
                                                   Office: (620) 500-5500
                                                   Fax: (620) 500-5501
                                                   melinda@melindayounglaw.com
                                                   Attorney for Plaintiff




                                              2
                                      EXHIBIT A
                     Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 28 of 44



    SENDER: COMPLETE THIS SECTION                                 COMPLETE THIS SECTION ON DELIVERY
    l Complete items       1, 2, and 3.                                 '9   ""9
    I   Print your name and address on the reverse                                                                    D Agent
        so that we can return the card to you.                                                                        El   Addressee
    I
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                                                                       eceive 4 by (F'rint                                 of
        Attach this card to the back of the mailpiece,
        or on the front if space permits.
    1. Article Addressed to:
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                                                                                                                             Delivery
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                                                                  D. ls delivery address different from item 1?       El   Yes
                                       .                             If YES, enter delivery address below:            [3 No
              Amazon. com Serv1ces Inc
              Corporation Service Company
              2900 SW Wanamaker Dr, Suite 204
              Topeka, KS 66614
lg
Q                                                            3. Service Type
                                                             El   Adult Signature
                                                                                                          El Priority Mail Express®
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a;                                                           El
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                                                                  Adult Signature Restricted Delivery
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                                                                                                          El Registered Mail Restricted
                                                                                                             Delivery
2:            9590 9 40 2 6604 1 028 851 5 20                El   Certified Mail Restricted Delivery      El Signature
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PS Form 3811, July 2020 PSN 7530-02-000-9053                                                           Domestic Return Receipti




                                                                             EXHIBIT A
      Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 29 of 44
                                                  ELECTRONICALLY FILED
                                                      2022 Oct 03 AM 10:52
                                          CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                 CASE NUMBER: 2021-CV-000008
                                                        PII COMPLIANT
MELINDA YOUNG LAW, LLC
1 East 30th Avenue
PO Box 1405
Hutchinson, KS 67504-1405
Office: (620) 500-5500
Fax: (620) 500-5501

              IN THE DISTRICT COURT OF CLARK COUNTY, KANSAS
                          (Pursuant to K.S.A. Chapter 60)

HUGO HERNANDEZ,                     )
         Plaintiff,                 )
                                    )
vs.                                 )                       Case No. 2021-CV-000008
                                    )
AMAZON.COM, INC.,                   )
AMAZON.COM, LLC,                    )
AMAZON.COM SERVICES, INC.,          )
AMAZON.COM SERVICES LLC,            )
AMAZON LOGISTICS, INC.,             )
MARROSSO EXPRESS, LLC, and          )
TESFAY GEBREWAHD,                   )
            Defendants.             )
____________________________________)

                                   RETURN OF SERVICE

I hereby certify that I served a copy of this summons and a copy of the petition on _Amazon.com

LLC, c/o Corporation Service Company in the following manner:

___     (1)   Personal Service - on the _____ day of _______________, 2021, by delivering or
              offering to deliver the documents to the above-named person;
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              documents at the dwelling or usual place of abode of the above-named person, with
              some person of suitable age and discretion who resides there;
___     (3)   Residence Service - on the ___ day of ________________ , 2021, by leaving a
              copy of the documents at the dwelling or usual place of abode of the above-named
              person and mailing to that person by first-class mail a notice that the copy has been
              left at the individual’s dwelling or place of abode;




                                       EXHIBIT A
      Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 30 of 44




  X     (4)   Return Receipt Delivery - by causing to be delivered on the          27th     day of
              September, 2022, the documents by return receipt delivery to the above-named
              person at the following address: 251 Little Falls Dr., Wilmington, DE 19808. A
              copy of the return receipt evidencing delivery is attached to this Return of Service.
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              2021, the documents by first-class, postage prepaid, to the above-named person at
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____ (6)      Other Method of Service -      (Describe other method of service allowed by law).
____ (7)      No Service. The above-named person was not served for the following reason(s):
              _________________________________________________________________



                                                    Respectfully submitted,


                                                    /s/Melinda G. Young_________
                                                    Melinda G. Young, SC # 24309
                                                    MELINDA YOUNG LAW, LLC
                                                    1 East 30th Avenue
                                                    PO Box 1405
                                                    Hutchinson, KS 67504-1405
                                                    Office: (620) 500-5500
                                                    Fax: (620) 500-5501
                                                    melinda@melindayounglaw.com
                                                    Attorney for Plaintiff




                                                2
                                       EXHIBIT A
Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 31 of 44




                                                                            H'H lama
                 SENDER: COMP
                              LETE THIS SECTION                                        COMPLETE THIS SECTION
                 I Com e items 1, 2, and 3.                                                                  ON DELIVERY

                 I Print plet
                         your name and address on
                                                                                       A. Signatur
                   so that we can return the card the reverse
                 I Attach this card to the back of totheyou.
                                                                                       X     "irks-WAddresses                                       gent

                      or on the front if
                                         space permits.
                                                               mailpiece,              B. Received by
                                                                                                      (Pr'                    e).       C. Date of Delivery
                 1.   Artir"
                                                                                           is delive    address different from item
                           Amazon.com Inc                                                  If YES, e                                 1?      D   Yes
                                                                                                       tgr'z'delivery address below:         [I No
                           Corporation Service Company
                           251   Little Falls Dr                                                       5
                          Wilmington, DE 19808                                                            \u             t;




                                                                                  3. Servrce Type
                                                                                  El Adult Signature                           El Priority Mail Expr
                                                                                                                                                     ess®
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                                                                                                               d Delivery     El Registered Mall Rest
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               PS Form 3811, July 2020 PSN
                                           7530-02-00090            53
                                                                                                                                Domestic Return
                                                                                                                                                Receipt      '.




                                      EXHIBIT A
      Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 32 of 44
                                                  ELECTRONICALLY FILED
                                                      2022 Oct 03 AM 10:52
                                          CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                 CASE NUMBER: 2021-CV-000008
                                                        PII COMPLIANT
MELINDA YOUNG LAW, LLC
1 East 30th Avenue
PO Box 1405
Hutchinson, KS 67504-1405
Office: (620) 500-5500
Fax: (620) 500-5501

              IN THE DISTRICT COURT OF CLARK COUNTY, KANSAS
                          (Pursuant to K.S.A. Chapter 60)

HUGO HERNANDEZ,                     )
         Plaintiff,                 )
                                    )
vs.                                 )                       Case No. 2021-CV-000008
                                    )
AMAZON.COM, INC.,                   )
AMAZON.COM, LLC,                    )
AMAZON.COM SERVICES, INC.,          )
AMAZON.COM SERVICES LLC,            )
AMAZON LOGISTICS, INC.,             )
MARROSSO EXPRESS, LLC, and          )
TESFAY GEBREWAHD,                   )
            Defendants.             )
____________________________________)

                                   RETURN OF SERVICE

I hereby certify that I served a copy of this summons and a copy of the petition on _Amazon.com

Inc, c/o Corporation Service Company in the following manner:

___     (1)   Personal Service - on the _____ day of _______________, 2021, by delivering or
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              documents at the dwelling or usual place of abode of the above-named person, with
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              copy of the documents at the dwelling or usual place of abode of the above-named
              person and mailing to that person by first-class mail a notice that the copy has been
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                                       EXHIBIT A
      Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 33 of 44




  X     (4)   Return Receipt Delivery - by causing to be delivered on the          27th     day of
              September, 2022, the documents by return receipt delivery to the above-named
              person at the following address: 251 Little Falls Dr., Wilmington, DE 19808. A
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____ (6)      Other Method of Service -      (Describe other method of service allowed by law).
____ (7)      No Service. The above-named person was not served for the following reason(s):
              _________________________________________________________________



                                                    Respectfully submitted,


                                                    /s/Melinda G. Young_________
                                                    Melinda G. Young, SC # 24309
                                                    MELINDA YOUNG LAW, LLC
                                                    1 East 30th Avenue
                                                    PO Box 1405
                                                    Hutchinson, KS 67504-1405
                                                    Office: (620) 500-5500
                                                    Fax: (620) 500-5501
                                                    melinda@melindayounglaw.com
                                                    Attorney for Plaintiff




                                                2
                                       EXHIBIT A
Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 34 of 44




          SENDER: COM
                      PLETE TH         IS SECTION
          I Complete items                                                 COMPLETE TH
         I Print your name an1, d2, and 3.                                A-   Signal"
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                Corporation Service C                                                                                              [J No
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                251 L   ittle Falls Dr                                                                             belbg'
                Wilmington, DE 19808
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                                                                                                                                 Delivery
                11, July 2020     PSN 7530-02-
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                                               000-9053
                                                                                                             Domestic Retu
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                                                                                                                                   ipt          -




                                             EXHIBIT A
              Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 35 of 44
                                                              ELECTRONICALLY FILED
                                                                   2022 Oct 05 PM 4:59
Hugo Hernandez                                         CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2021-CV-000008
vs.                                                                  PII COMPLIANT
Tesfay A Gebrewahd, et al. et. al.
                                                   ALIAS SUMMONS



To the above-named Defendant/Respondent:


                                     Marrosso Express LLC
                                     c/o Hinkle Law Firm, LLC
                                     1617 N Waterfront Parkway, Suite 400
                                     Wichita, KS 67206


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                     Melinda Young
                                     1 E 30th Avenue
                                     PO Box 1405
                                     Hutchinson, KS 67504-1405


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 10/06/2022 07:20:29 AM


Documents to be served with the Summons:
PLE: Amended Petition First Amended Petition




                                                   EXHIBIT A
              Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 36 of 44
                                                              ELECTRONICALLY FILED
                                                                   2022 Oct 05 PM 4:59
Hugo Hernandez                                         CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2021-CV-000008
vs.                                                                  PII COMPLIANT
Tesfay A Gebrewahd, et al. et. al.
                                                   ALIAS SUMMONS



To the above-named Defendant/Respondent:


                                     Tesfay A Gebrewahd
                                     c/o Hinkle Law Firm LLC
                                     1617 N Waterfront Parkway, Suite 400
                                     Wichita, KS 67206


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                     Melinda Young
                                     1 E 30th Avenue
                                     PO Box 1405
                                     Hutchinson, KS 67504-1405


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 10/06/2022 07:20:29 AM


Documents to be served with the Summons:
PLE: Amended Petition First Amended Petition




                                                   EXHIBIT A
      Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 37 of 44
                                                     ELECTRONICALLY FILED
                                                           2022 Oct 11 PM 4:03
                                               CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                      CASE NUMBER: 2021-CV-000008
                                                             PII COMPLIANT
HINKLE LAW FIRM LLC
1617 North Waterfront Parkway, Suite 400
Wichita, Kansas 67206
(316) 267-2000
                          IN THE SIXTEENTH JUDICIAL DISTRICT
                       DISTRICT COURT OF CLARK COUNTY, KANSAS
                                     CIVIL DIVISION

 HUGO HERNANDEZ,
                                  Plaintiff,

 v.

 AMAZON.COM, INC., AMAZON.COM,
                                                              Case No. 2021-CV-000008
 LLC, AMAZON.COM SERVICES, INC.,
 AMAZON.COM SERVICES LLC, AMAZON
 LOGISTICS, INC., MARROSSO EXPRESS,
 LLC, and TESFAY GEBREWAHD,

                                  Defendants.
Pursuant to K.S.A. Chapter 60

                                     ENTRY OF APPEARANCE

        COME NOW Paul J. Skolaut and Rebecca E. Bergkamp of Hinkle Law Firm LLC and

enter their appearance as counsel on behalf of the defendants, Marrosso Express, LLC and Tesfay

Gebrewahd.

        Dated this the 11th day of October, 2022.

                                                       Respectfully submitted,

                                                       HINKLE LAW FIRM LLC
                                                       1617 N. Waterfront Parkway, Suite 400
                                                       Wichita, Kansas 67206-6639
                                                       TEL: (316) 267-2000/ FAX: (316) 264-1518

                                                       /s/ Rebecca E. Bergkamp
                                                       Rebecca E. Bergkamp, #28239
                                                       rbergkamp@hinklaw.com
                                                       Paul J. Skolaut, #22143
                                                       jskolaut@hinklaw.com
                                                       Attorneys for Defendants
                                                       Marrosso Express, LLC and
                                                       Tesfay Gebrewahd



                                           EXHIBIT A
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 11, 2022, a true and correct copy of the

above and foregoing Entry of Appearance was filed with the Clerk of the Court using the eFiling

system, which will send a notice of electronic filing to the following:

       Melinda G. Young, #24309
       melinda@melindayounglaw.com
       MELINDA YOUNG LAW, LLC
       1 East 30th Avenue
       P.O. Box 1405
       Hutchinson, KS 67504-1405
       TEL: 620-500-5500
       FAX: 620-500-5501
       Attorney for Plaintiff

                                                      /s/ Rebecca E. Bergkamp
                                                      Rebecca E. Bergkamp, #28239




                                                -2-

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                                                  ELECTRONICALLY FILED
                                                      2022 Oct 13 AM 11:31
                                          CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                 CASE NUMBER: 2021-CV-000008
                                                        PII COMPLIANT
MELINDA YOUNG LAW, LLC
1 East 30th Avenue
PO Box 1405
Hutchinson, KS 67504-1405
Office: (620) 500-5500
Fax: (620) 500-5501

              IN THE DISTRICT COURT OF CLARK COUNTY, KANSAS
                          (Pursuant to K.S.A. Chapter 60)

HUGO HERNANDEZ,                     )
         Plaintiff,                 )
                                    )
vs.                                 )                       Case No. 2021-CV-000008
                                    )
AMAZON.COM, INC.,                   )
AMAZON.COM, LLC,                    )
AMAZON.COM SERVICES, INC.,          )
AMAZON.COM SERVICES LLC,            )
AMAZON LOGISTICS, INC.,             )
MARROSSO EXPRESS, LLC, and          )
TESFAY GEBREWAHD,                   )
            Defendants.             )
____________________________________)

                                   RETURN OF SERVICE

I hereby certify that I served a copy of this summons and a copy of the petition on _Tesfay A

Gebrewahd c/o Hinkle Law Firm, LLC in the following manner:

___     (1)   Personal Service - on the _____ day of _______________, 2021, by delivering or
              offering to deliver the documents to the above-named person;
___     (2)   Residence Service - on the _____         day of _______, _____, by leaving the
              documents at the dwelling or usual place of abode of the above-named person, with
              some person of suitable age and discretion who resides there;
___     (3)   Residence Service - on the ___ day of ________________ , 2021, by leaving a
              copy of the documents at the dwelling or usual place of abode of the above-named
              person and mailing to that person by first-class mail a notice that the copy has been
              left at the individual’s dwelling or place of abode;




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  X     (4)   Return Receipt Delivery - by causing to be delivered on the       11th     day of
              _October, 2022, the documents by return receipt delivery to the above-named
              person at the following address: _1617 N. Waterfront Parkway, Suite 400,
              Wichita, Kansas 67206. A copy of the return receipt evidencing delivery is
              attached to this Return of Service.
____    (5)   Return Receipt Delivery Refused - by mailing on the ____ day of ___________,
              2021, the documents by first-class, postage prepaid, to the above-named person at
              the following address: ________________________________________.
____ (6)      Other Method of Service -      (Describe other method of service allowed by law).
____ (7)      No Service. The above-named person was not served for the following reason(s):
              _________________________________________________________________



                                                    Respectfully submitted,


                                                    /s/Melinda G. Young_________
                                                    Melinda G. Young, SC # 24309
                                                    MELINDA YOUNG LAW, LLC
                                                    1 East 30th Avenue
                                                    PO Box 1405
                                                    Hutchinson, KS 67504-1405
                                                    Office: (620) 500-5500
                                                    Fax: (620) 500-5501
                                                    melinda@melindayounglaw.com
                                                    Attorney for Plaintiff




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                                       EXHIBIT A
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              SENDER: COMPLETE THIS SECTION                                  COMPLETE THIS SECTION ON DELIVERY
              I    Complete items 1, 2, and 3.                               A   Signature
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                   so that we can return the card to you.
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                    c/o Hinkle Law Firm LLC
                    1617 N Waterfront Parkway, SuitédtiO
                    Wichita, KS 67206
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          PS Form 3811, July 2020 PSN 7530-02-000-9053
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                                                  EXHIBIT A
      Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 42 of 44
                                                  ELECTRONICALLY FILED
                                                      2022 Oct 13 AM 11:31
                                          CLERK OF THE CLARK COUNTY DISTRICT COURT
                                                 CASE NUMBER: 2021-CV-000008
                                                        PII COMPLIANT
MELINDA YOUNG LAW, LLC
1 East 30th Avenue
PO Box 1405
Hutchinson, KS 67504-1405
Office: (620) 500-5500
Fax: (620) 500-5501

              IN THE DISTRICT COURT OF CLARK COUNTY, KANSAS
                          (Pursuant to K.S.A. Chapter 60)

HUGO HERNANDEZ,                     )
         Plaintiff,                 )
                                    )
vs.                                 )                       Case No. 2021-CV-000008
                                    )
AMAZON.COM, INC.,                   )
AMAZON.COM, LLC,                    )
AMAZON.COM SERVICES, INC.,          )
AMAZON.COM SERVICES LLC,            )
AMAZON LOGISTICS, INC.,             )
MARROSSO EXPRESS, LLC, and          )
TESFAY GEBREWAHD,                   )
            Defendants.             )
____________________________________)

                                   RETURN OF SERVICE

I hereby certify that I served a copy of this summons and a copy of the petition on _Marrosso

Express LLC c/o Hinkle Law Firm, LLC in the following manner:

___     (1)   Personal Service - on the _____ day of _______________, 2021, by delivering or
              offering to deliver the documents to the above-named person;
___     (2)   Residence Service - on the _____         day of _______, _____, by leaving the
              documents at the dwelling or usual place of abode of the above-named person, with
              some person of suitable age and discretion who resides there;
___     (3)   Residence Service - on the ___ day of ________________ , 2021, by leaving a
              copy of the documents at the dwelling or usual place of abode of the above-named
              person and mailing to that person by first-class mail a notice that the copy has been
              left at the individual’s dwelling or place of abode;




                                       EXHIBIT A
      Case 6:22-cv-01236-EFM-KGG Document 1-1 Filed 10/17/22 Page 43 of 44




  X     (4)   Return Receipt Delivery - by causing to be delivered on the       11th     day of
              _October, 2022, the documents by return receipt delivery to the above-named
              person at the following address: _1617 N. Waterfront Parkway, Suite 400,
              Wichita, Kansas 67206. A copy of the return receipt evidencing delivery is
              attached to this Return of Service.
____    (5)   Return Receipt Delivery Refused - by mailing on the ____ day of ___________,
              2021, the documents by first-class, postage prepaid, to the above-named person at
              the following address: ________________________________________.
____ (6)      Other Method of Service -      (Describe other method of service allowed by law).
____ (7)      No Service. The above-named person was not served for the following reason(s):
              _________________________________________________________________



                                                    Respectfully submitted,


                                                    /s/Melinda G. Young_________
                                                    Melinda G. Young, SC # 24309
                                                    MELINDA YOUNG LAW, LLC
                                                    1 East 30th Avenue
                                                    PO Box 1405
                                                    Hutchinson, KS 67504-1405
                                                    Office: (620) 500-5500
                                                    Fax: (620) 500-5501
                                                    melinda@melindayounglaw.com
                                                    Attorney for Plaintiff




                                                2
                                       EXHIBIT A
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                                                            Hit/0:]
       I   Complete items 1, 2, and 3.
                                                                       A- Signatur
                                                                                                                             El Agent
       I                                                                         r
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           Print your name and address on the reverse                  x                                                     D    Addressee
           so that we can return the card to you.
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       1. Article Addressed to:                                        D. ls de'iivery address different from item 1?        D    Yes
                                                                          If YES, enter delivery address below:              [I   No

               Marrosso Express LLC
               c/o Hinkle Law Firm, LLC
               1617 N Waterfront Parkway, Suite 400
               Wichita, KS 67206

                                                                     a. Service Type                              El Priority Mail Express®
                                                                     El Adult Signature                           El Registered Mail"
                                                                     III Adult Signature Restricted Delivery      El Registered Mail Restricted
                                                                     El Certified Mail®                              Delivery
                                                                     El Certiﬁed Mail Restricted Delivery         El Signature ConfirmationTM
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       PS Form 3811, July 2020 PSN 7530-02-000-9053
                                                                 l     (W            RestrictedDelivery
                                                                                                          1'  Domestic Return Receipt




                                             EXHIBIT A
